        Case 1:19-cv-05451-AT-KHP Document 113 Filed 11/09/20 Page 1 of 7




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                              11/9/2020
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L.V. on behalf of herself and her minor child, J.V.2.,
                                                                          STIPULATION AND
                                                         Plaintiffs,      ORDER OF
                                                                          SETTLEMENT AND
                             -against-                                    DISCONTINUANCE AS
                                                                          TO PLAINTIFFS’
NEW YORK CITY DEPARTMENT OF EDUCATION,                                    CLAIMS FOR
                                                                          MONETARY RELIEF
                                                        Defendant.
                                                                          19-CV-5451 (AT) (KHP)
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                 WHEREAS L.V. commenced this action on her own behalf and on behalf of her

minor child, J.V.2 (together, the “Plaintiffs”), against Defendant New York City Department of

Education (“Defendant”) by filing a Complaint, an Amended Complaint, and a Second Amended

Complaint, in the United States District Court for the Southern District of New York (together,

hereinafter, referred to as the “Complaint”) seeking, inter alia, damages and monetary relief as

well as attorneys’ fees and costs, for alleged violations of Plaintiffs’ rights under federal and

state laws and state common law as set forth in the Complaint;

                 WHEREAS on July 31, 2020, Defendant’s counsel served, Rule 68 Offers of

Judgment to resolve Plaintiffs’ claims for damages and monetary relief and attorneys’ fees and

costs incurred related to those claims (the “Rule 68 Offers”), and Plaintiffs accepted the Rules 68

Offers on August 12, 2020;

                 WHEREAS Defendant and Plaintiffs (together, the “parties”) agreed to convert

the Rule 68 Offers into a negotiated stipulation of settlement of the same amounts and resolve all

claims for monetary relief raised in this action without further proceedings and without admitting

any fault or liability;
       Case 1:19-cv-05451-AT-KHP Document 113 Filed 11/09/20 Page 2 of 7




               WHEREAS the parties have also settled Plaintiffs’ claim for attorneys fees and

costs incurred and accrued related to Plaintiffs’ motion for emergency relief through to July 8,

2020, the date of the Court’s decision on this motion;

               WHEREAS Plaintiff L.V. has authorized her counsel to settle this matter on her

behalf, and on behalf of her minor child, J.V.2, with respect to all claims for damages or

monetary relief against Defendant New York City Department of Education, and all claims for

attorneys fees and costs related to Plaintiffs’ claims for damages and monetary relief and

Plaintiffs’ motion for emergency relief through to July 8, 2020, on the terms set forth below;

               WHEREAS Defendant denies any and all liability or wrongdoing arising from

the allegations in the Complaint and nothing in this Stipulation or Order shall be deemed an

admission of any fault or liability by Defendant; and

               WHEREAS the Court so-ordered the Infant Compromise Order on November 9,

2020 (see Dkt No. 111), which approved the settlement of J.V.2’s claims for damages and

monetary relief in this matter on the terms set forth below;

               NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by

and between the undersigned, as follows:

               1.      Plaintiffs’ claims for monetary relief against Defendant New York City

Department of Education are dismissed, with prejudice, and without costs, expenses, or fees in

excess of the amounts specified in paragraph “2” and “3” below.

               2.      The City of New York hereby agrees to pay Plaintiff L.V. the sum of

TWENTY FIVE THOUSAND AND ONE DOLLARS AND ZERO CENTS ($25,001.00)

payable to “Lisa Vasquez”, and Plaintiff J.V.2 the sum of TEN THOUSAND AND ONE




                                               -2-
       Case 1:19-cv-05451-AT-KHP Document 113 Filed 11/09/20 Page 3 of 7




DOLLARS AND ZERO CENTS ($10,001.00) in full satisfaction of all claims for damages or

monetary relief that were or could have been raised in this action.

               3.      The City of New York further agrees to pay MSR Legal & Consulting

Services, PLLC the sum of FOURTEEN THOUSAND FIVE HUNDRED DOLLARS AND

ZERO CENTS ($14,500.00) payable to “MSR Legal & Consulting Services, PLLC” in full

satisfaction of all claims for attorneys’ fees, costs and expenses that were or could have been

incurred in this action related to all claims for damages or monetary relief in this action, and

related to all claims for attorneys’ fees, costs and expenses that were or could have been incurred

in this action related to Plaintiffs’ motion for emergency relief (see Dkt No. 67) through to July

8, 2020.

               4.      In consideration for the payment of the sums identified in paragraphs “2”

and “3”, Plaintiffs L.V. and J.V.2. agree to dismiss and discontinue, with prejudice, all claims for

monetary damages asserted in this action, and to release and discharge Defendant New York

City Department of Education as well as the City of New York, their successors or assigns; and

all past and present officials, employees, representatives, and agents of Defendant New York

City Department of Education and the City of New York, or any entity represented by the Office

of the Corporation Counsel, from any and all liability, claims, and/or rights of action for damages

or monetary relief, from the beginning of the world to the date on the Releases in this action,

whether known or unknown, that Plaintiffs L.V. or J.V.2 raised or could have raised in the

Complaint in this action based upon or related in any way to the events described in the

Complaint pertaining to L.V. and/or J.V.2, including all claims for costs, expenses,

disbursements, and fees incurred in connection with Plaintiffs’ claims for damages or monetary

relief in this action. In consideration for the payment of the sum identified in paragraph “3”,



                                               -3-
       Case 1:19-cv-05451-AT-KHP Document 113 Filed 11/09/20 Page 4 of 7




Plaintiffs L.V. and J.V.2. agree to release and discharge Defendant New York City Department

of Education as well as the City of New York, their successors or assigns; and all past and

present officials, employees, representatives, and agents of Defendant New York City

Department of Education and the City of New York, or any entity represented by the Office of

the Corporation Counsel, from any and all liability, claims, and/or rights of action for costs,

expenses, disbursements, and fees that were or could have been incurred or accrued in

connection with Plaintiffs’ motion for emergency relief (see Dkt No. 67), from the beginning of

the world to July 8, 2020.

               5.     Subject to the approval of the Court that settlement of all claims for

monetary relief in this action with respect to J.V.2 is in compliance with Rule 83.2(a) of the

Local Civil Rules of this Court (“Settlement of Actions by or on Behalf of Infants or

Incompetents, Wrongful Death Actions, and Conscious Pain and Suffering Actions”) and Rule

1207 et seq. of the Civil Practice Law and Rules for the State of New York, payment shall be

distributed as follows, in accordance with the Infant Compromise Order so ordered on November

9, 2020 (see Dkt No. 111):

                      a.     Defendant City of New York shall issue a check for TEN

                             THOUSAND AND ONE DOLLARS AND ZERO CENTS

                             ($10,001.00) payable to “MSR Legal & Consulting Services,

                             PLLC - IOLA Trust Account,” which shall be deposited to MSR

                             Legal & Consulting Services, PLLC’s IOLA account;

                      b.     MSR Legal & Consulting Services, PLLC shall issue a check from

                             its IOLA account in the amount of TEN THOUSAND AND ONE

                             DOLLARS AND ZERO CENTS ($10,001.00) payable to “L.V., in



                                             -4-
       Case 1:19-cv-05451-AT-KHP Document 113 Filed 11/09/20 Page 5 of 7




                               trust for minor child, J.V.2”, which shall be deposited into an

                               interest bearing account at a bank selected by L.V. and held for the

                               benefit of J.V.2 until the event of J.V.2’s 18th birthday; and

                        c.     Plaintiffs and their attorneys shall otherwise comply with the terms

                               of the Infant Compromise Order, so ordered on November 9, 2020

                               (see Dkt No. 111).

               6.       Plaintiff L.V. shall be responsible for the payment of any federal, state,

and/or local taxes, if any, on the payment specified in paragraph “2”, above.

               7.       MSR Legal & Consulting Services, PLLC shall be responsible for the

payment of any federal, state, and/or local taxes, if any, on the payment specified in paragraph

“3”, above.

               8.       The settlement checks in paragraph “2” and “3” shall be mailed to

Plaintiffs’ counsel Oroma Mpi-Reynolds at MSR Legal & Consulting Services, PLLC, 503

Linden Street, West Hempstead, New York 11552.

               9.       Plaintiff L.V. will execute and deliver to Defendant’s undersigned

attorney all documents necessary to effectuate this settlement, including, without limitation, a

release for Plaintiff L.V., on her own behalf and on behalf of her minor child, J.V.2, based upon

the terms of the paragraphs “2” through “4” above; an affidavit of status of liens for Plaintiff

L.V.; and substitute w-9 for Plaintiff L.V.. MSR Legal & Consulting Services, PLLC will also

execute and deliver to Defendant’s undersigned attorney a release based upon the terms of

paragraphs “3” and “4” above, and a substitute w-9. The payments set forth in paragraphs “2”

and “3” are subject to and conditioned on delivery of all such documents to Defendant’s

undersigned attorney.



                                               -5-
       Case 1:19-cv-05451-AT-KHP Document 113 Filed 11/09/20 Page 6 of 7




               10.     Nothing contained herein shall be deemed to be an admission by the New

York City Department of Education or the City of New York of any of Plaintiffs’ allegations, nor

an admission by the New York City Department of Education or the City of New York that they

have in any manner or way violated the rights of Plaintiffs L.V. or J.V.2, or the rights of any

other person or entity, as defined in the constitutions, statutes, ordinances, charters, by-laws,

rules or regulations of the United States, the State of New York, or the City of New York, or any

other rules, regulations or bylaws of any department or subdivision of the City of New York or

the New York City Department of Education.

               11.     This Stipulation and Order shall not be admissible in, nor is it related to,

any other litigation or administrative matter, or settlement negotiations except for enforcement of

the provisions contained herein.

               12.     Nothing contained in this Stipulation and Order shall be deemed to

constitute a policy or practice of the New York City Department of Education, the City of New

York, or any agency thereof.

               13.     This Stipulation and Order contains all the terms and conditions agreed

upon by the parties hereto, and no oral agreement entered into at any time nor any written

agreement entered into prior to the execution of this Stipulation of Settlement regarding the

subject matter of the instant proceeding shall be deemed to exist, or to bind the parties hereto, or

to vary the terms and conditions contained herein.

               14.     This Stipulation and Order may be executed in counterparts, and a

facsimile, electronic, or scanned signature shall be deemed valid for all purposes.



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                                               -6-
Case 1:19-cv-05451-AT-KHP Document 113 Filed 11/09/20 Page 7 of 7
